Case: 5:19-CV-00054-.]I\/|H-I\/|AS Doc #: 1-2 Filed: 02/15/19 Page: 1 of 3 - Page |D#: 21

EXHIBIT 2

 

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Fax: 1-206-946-7289
Email: accommodations amazon.com

 

HEALTHCARE FROV|DER QUEST|ONNA|RE FOR EMPLOYEE ACCOMN|ODAT|ON REQUEST:

Date:Og)[;Q[/z Employee Name: Case #:
M?@b\@\&§ St©v@t~

Your patient, our employee, is requesting a reasonable Work accommodationl ln consideration of this request,
We Would like to thoroughly assess your patients situation in order to ensure consideration and compliance
With the Americans With Disabilities Act (ADA and ADAAA.) Please respond to any applicable questions
belowl and/or provide us With any medical documentation or information you feel may be relevant to the
employee’s need for accommodationl if We may be of any assistance, please contact us. Submit any medical
documentation or information you feel is relevant for review to FAX: 1~206-946-7289.

Dear Healthcare Provider:

a. Does the employee have a medical situation (physical or mental 0i,&jty%ent) that may prevent
the employee from performing the job duties? Yeslj

b. Does the employee have a medical situation( (physical ormeWpairment)? Yes /

No
Permanent OM'W” j

d. lf not permanent, approximately how long Wi|l the impairment last? c<v M

e. What is the impairment? m\ yl\/M be/t‘/MA’ ~'” Cé@l\ MW(
.jt_'b\,,¢ inst j~eC/,Y de 55 dam <(\') HW \
) is/are affected? (P/ease indicate any of the following Which apply.)
[| Caring for Self |§-j/Valking l:l Hearing I:l Lifting
lnteracting With others S atnding Seeing I:l Sleeping

[:| |:|

[:l Performing manual tasksl:] Reaching I:] Speaking l:] Concentrating
[:I Breathing/Respiratory l:] Thinking [:] Toileting [:] L ming

[| l:]

l:l

c. ls the impairment long~term or permanent? Long- -Term

  

lf yes, What major life activity(s

Reproduction l:l Working Sitting [\__,]/ igestive
Other( (Describe)

f. What general difficulties and restrictions including nature and severity, is th,e employee

9
experiencing 33 a result Of the 'mpa'rment WQ/!\ W/b\ ./¢’i/“"JM §M

g. What job function(s) is the employee having trouble performing because of the impairment?

…Q,

h. ls the employee safe to be at Work? YesM E 1

i. What limitation(s) is/are interfering With the job performance?

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Fax: 1-206-946-7289
Emai|: accommodations amazon.com

 

j. What accommodations if any, are recommended?
gz:@ ______ s ,n/lptl,<,.

K. lf medications are involved with the accommodations is there any impairment caused by the
medicationl and if so, how may this be accommodated?

Comments: (See additional comments page)

Provider Contact lnformation:

Name:%r. é`t'€{)`\rd\ @ 5(',&\`\'\&\® Phone; ggq“;tq§”g (7)<?{9
Address:Q\\o&D bt)`~\)t\\i`k bf:d@ L®<,lLt/ Fax: gsa ~ 3/789"”8"1 538

‘-loso;z
Siqnature of Provider - Date

 

FAX: 1-206-946-7289

EMAlL: accommodatlons@amazon.com

Additional Relevant information (optional):

 

*The Genetic lnformation Nondiscrimination Act of 2008 (G|NA) prohibits employers and other entities
covered by GlNA Tit|e ll from requesting or requiring genetic information of employees or their family
members ln order to comply with this lawl we are asking that you not provide any genetic information
when responding to this request for medical information ‘Genetic information,’ as defined by GlNA,
includes an individual’s family medical history, the results of an individual’s or family member’s genetic
tests, the fact that an individual or an individual’s family member sought or received genetic services, and
genetic information cfa fetus carried by an individual or an individual’s family member or an embryo
lawfully held by an individual or family member receiving assistive reproductive services.

